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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. PATTON

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. PATTON2018 OK 99Case Number: SCBD-6734Decided: 12/17/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 99, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Matthew Jeremy Patton, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information and Judgment and Sentence on a plea of guilty. Matthew Jeremy Patton entered a plea of guilty to Outraging Public Decency, occurring on March 21, 2017, in violation of 21 O.S.2011, § 22. Patton received a deferred sentence of 2 years until August 21, 2019, for Acts Resulting in Gross Injury, a misdemeanor under 21 O.S.2011, § 22, and placed on probation durng the deferred sentence.
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Matthew Jeremy Patton is immediately suspended from the practice of law. Matthew Jeremy Patton is directed to show cause, if any, no later than January 4, 2019, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until January 22, 2019, to respond.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Matthew Jeremy Patton has until February 6, 2019, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until February 21, 2019, to respond.
¶4 DONE BY ORDER OF THE SUPREME COURT on December 17, 2018.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR.




	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
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	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 22, Acts Resulting in Gross Injury - MisdemeanorDiscussed


	
	








				
					
					
				

		
		

	
		
			
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